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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                            CRIM.. NO. 98-30024-01/USM 79442-079

 VERSUS                                              JUDGE ROBERT G. JAMES

 DORIS JEAN DYKES                                    MAG. JUDGE KAREN L. HAYES


                                   AMENDED JUDGMENT

        Pursuant to 18 U.S.C. § 3582(c)(2), which provides for a reduction in the term of

 imprisonment imposed based on a guideline sentencing range that has subsequently been lowered

 and made retroactive by the United States Sentencing Commission under 28 U.S.C. § 994(u),

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Judgment of the

 Court, imposed on July 2, 1999, sentencing Defendant Doris Jean Dykes to a term of

 imprisonment of 132 months is AMENDED, and Defendant’s sentence is reduced to

 120 months. If this sentence exceeds the amount that Defendant has already served, this shall be

 treated as a “Time Served” Judgment. It is the intent of the Court that Defendant be released

 from custody immediately.

 I.     COURT DETERMINATION OF GUIDELINE RANGE (Prior to any departures)

 Previous Offense Level:          37                 Amended Offense Level:         35
 Criminal History Category:        I                 Criminal History Category:      I
 Previous Guideline Range: 210-262 months            Amended Guideline Range: 168-210 months

 II.    SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

                The reduced sentence is within the amended guideline range.

                The previous term of imprisonment imposed was less than the guideline
                range applicable to the defendant at the time of sentencing as a result of a
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                departure or a Rule 35 reduction, and the reduced sentence is comparably
                less than the amended guideline range.

          X     Other (explain): The previous term of imprisonment imposed was less than
                the guideline range applicable to the defendant at the time of sentencing as a
                result of a 5K1.1 departure, and the reduced sentence is the statutory
                minimum.

 III.    ADDITIONAL COMMENTS:

         Except as otherwise provided, all provisions of the Judgment dated July 7, 1999, remain

 in effect.

         MONROE, LOUISIANA, this 3rd day of March, 2008.




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